556 F.2d 560
    95 L.R.R.M. (BNA) 2626, 81 Lab.Cas.  P 13,230
    Target Rock Corp.v.Local 431, International Union of Electrical, Radio &amp;Machine Workers, AFL-CIO
    No. 77-7133
    United States Court of Appeals, Second Circuit
    4/29/77
    
      1
      E.D.N.Y.
    
    
      2
      AFFIRMED*
    
    
      
        *
         Oral opinion delivered in open court in the belief that no jurisprudential purpose would be served by a written opinion.  An oral opinion or a summary order is not citable as precedent.  Local Rule Sec. 0.23
      
    
    